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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Criminal Action No. 19-cr-00086-REB


UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. DAMIEN LEWIS;
2 BRAINARD CLARK; and,
3. DAVID WINSTON;

       Defendants.


            MOTION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM


       The United States of America, by and through the United States Attorney for the District

of Colorado, petitions the Court for Writ of Habeas Corpus Ad Prosequendum and states as

follows:

       1.    The Defendant, BRAINARD CLARK, YOB: 1994, DOC Number 183409 is now

confined at Crowley County Correctional Facility, 6564 CO-96, Olney Springs, CO 81062.

       2.    A hearing in the above-captioned case will be held forthwith in the United States

District Court for the District of Colorado. It is necessary that the defendant be present in person

during this proceeding.

       WHEREFORE your Petitioner moves the Court to order that a Writ of Habeas Corpus Ad

Prosequendum be issued by this Court to the United States Marshal for the District of

Colorado, or any other United States Marshal, or to any other federal law enforcement

officer, requiring him to serve the writ on the Warden, Superintendent, or Custodian of any place
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or institution where the defendant is confined, and requiring said federal law enforcement officer

to produce the defendant before the United States District Court Judge in the above-captioned

case for the Defendant’s initial appearance, and hold him at all times in custody as an agent of

the United States of America until final disposition of the Defendant's case.

       Dated: January 14, 2020.

                                                     JASON R. DUNN
                                                     United States Attorney


                                             By:     s/ Jason St. Julien
                                                     Jason St. Julien
                                                     Assistant United States Attorney
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                              CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on the 14th day of January 2020, I filed the foregoing
MOTION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM with the Clerk of
the Court using CM/ECF, which will send notification of such filing to counsel of record:




                                                 /s/ Jason St. Julien
                                                 JASON ST. JULIEN
                                                 Assistant United States Attorney
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                                                 Denver, Colorado 80202
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                                                 Attorney for the United States




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